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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION


UNITED STATES OF AMERICA                        §
                                                §
V.                                              §                     5:00-CR-9(6)
                                                §
JOE WASHINGTON                                  §

                                   MEMORANDUM ORDER

       The above-entitled and numbered criminal action was heretofore referred to United States

Magistrate Judge Caroline M. Craven pursuant to 28 U.S.C. § 636. The Report of the Magistrate

Judge which contains her proposed findings of fact and recommendations for the disposition of such

action has been presented for consideration. Both parties waived their right to file objections to the

Report and Recommendation. The Court is of the opinion that the findings and conclusions of the

Magistrate Judge are correct. Therefore, the Court hereby adopts the Report of the United States

Magistrate Judge as the findings and conclusions of this Court. Accordingly, it is hereby

       ORDERED that Defendant’s plea of true to the allegations as set forth in the Government’s

petition is ACCEPTED. Further, it is

       ORDERED that Defendant’s supervised release is REVOKED.                     Based upon the

Defendant’s plea of true to the allegations, the Court finds that Defendant did violate his conditions

of supervised release as alleged in the U.S. Probation Office’s violation petition. Further, it is

       ORDERED that Defendant be committed to the custody of the Bureau of Prisons to be

imprisoned for a term of seven (7) months with no term of supervised release to follow such term

of imprisonment. It is further

       REQUESTED that Defendant be allowed to serve his term of imprisonment at the
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    Texarkana Federal Correctional Institute and that Defendant receive alcohol treatment while he is

    serving the term of imprisonment.

          SIGNED this 21st day of April, 2006.




                                                       ____________________________________
                                                       DAVID FOLSOM
                                                       UNITED STATES DISTRICT JUDGE




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